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From: Jacob Kring
Sent: Wednesday, December 20, 2017 7:22 AM
To: brandon@wwefirm.com
Subject: Re: Delta/Cimarron

Mr. Wilson:

Please advise regarding the below. This is my third attempt to conference with you without a response.

Jacob B. Kring
Hedrick Kring, PLLC
214.880.9625


On Dec 19, 2017, at 1:55 PM, Jacob Kring <Jacob@hedrickkring.com> wrote:

       Mr. Wilson:

       Would you please kindly respond to the below e‐mail. Thank you in advance.

       Jacob B. Kring
       Hedrick Kring, PLLC
       1700 Pacific Avenue, Suite 4650 | Dallas, Texas 75201
       214.880.9625 direct | 214.206.6182 mobile| 214.481.1844 fax
       Jacob@HedrickKring.com | www.HedrickKring.com
       From: Jacob Kring
       Sent: Monday, December 18, 2017 6:05 PM
       To: 'brandon@wwefirm.com'
       Subject: Delta/Cimarron

       Mr. Wilson:

       I am writing to you regarding your various motions and my continuing efforts to understand your
       pleadings. The pleading you recently filed on Friday seeking emergency relief while I was attending a
       funeral is devoid of material facts and any supporting authority. In my effort to understand the full‐
       story, will you please provide me with the following:

                 The amount of accounts receivable outstanding at Cimarron;
                 A monthly accounts receivable report from January 1, 2016, through to the present;
                 The management agreement between Cimarron and New Light;
                 All communications between Cimarron and New Light regarding Delta’s lawsuit against
                  Cimarron;
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       All documents showing where the revenues went that were generated by Delta’s healthcare
        providers;
       All communications between Cimarron and New Light regarding the judgment against Cimarron;
       All documents evidence New Light’s knowledge of the lawsuit or the judgment against
        Cimarron;
       All documents evidencing New Light’s awareness of hiring Delta’s healthcare provider;
       All internal communications at New Light regarding Delta’s lawsuit against Cimarron or the
        judgment against Cimarron;
       The current bank statement of Cimarron;
       Monthly bank statements for Cimarron from January 1, 2016, through to the present;
       Monthly balance sheets for Cimarron from January 1, 2016, through to the present;
       All documents evidencing New Light’s efforts to foreclose on any of Cimarron’s collateral;
       All documents evidencing Cimarron’s breach of the promissory note between New Light and
        Cimarron;
       Monthly income statements for Cimarron from January 1, 2016, through to the present.

Please advise when you may be able to produce such information. If you are not willing to produce this
information please let me know.

I would also like to take the deposition of a corporate representative of New Light. Assuming you are
willing to cooperate, please provide some available dates for you and New Light.

Jacob B. Kring
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